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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA


               v.                                       CRIMINAL NO. 1:22-cr-00643-CPO

JAMES PATTEN,
PETER COKER, SR.,
AND PETER COKER, JR.


                                 NOTICE OF APPEARANCE

To the Clerk of this Court and all parties of record:

Enter my appearance as counsel in this case for          Peter Coker, Jr.
                                                        Name of Defendant

     I hereby certify under penalty of perjury that I am a member in good standing of the bar of

the following Court(s) since the indicated year of admission and that I am not the subject of

suspension or disbarment from any Court:


New York                                                               1994

U.S. District Court for the Eastern District of New York               2016

U.S. District Court for the Southern District of New York              1998

U.S. Tax Court                                                         2019

Courts                                                                 Years of Admission




Date: March 10, 2023                                         /s/     William F. McGovern
                                                                   Signature of Attorney


                                                                     William F. McGovern
                                                                        Print Name

                                                              3 Columbus Circle, 15th Floor
                                                                     Address
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                                           New York, New York 10019
                                             City, State, Zip Code

                                                 646-216-8295
                                                 Phone Number
